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                          UNITED STATES DISTRICT COURT FOR TH
                            SOUTHERN DISTRICT OF CALIFORNIA                   SY         LllSl RI~ CALiFcIRNIA
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IN THE MATTER OF                                )
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THE EXTRADITION OF                              )                Misc. No.

ALEX DION A/KIA
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                                                                                18MJ4867
AHMAD ARNAOUT                                   )

                           COMPLAINT FOR PROVISIONAL ARREST
                           WITH A VIEW TOWARDS EXTRADITION
                                     (18 U.S.C. § 3184)

       I, the undersigned Assistant United States Attorney, being duly sworn, state on

information and belief that the following is true and correct:

1.     In this matter, I represent the United States in fulfilling its treaty obligation to Australia.

2.     There is an extradition treaty in force entitled Treaty on Extradition Between the United

States of America and Australia, U.S.-Austl., May 14, 1974, 27 U.S.T 957, as supplemented and

amended by the Protocol Amending the Treaty on Extradition Between the United States of

America and Australia, signed at Seoul on September 4, 1990, entered into force on December

21, 1992 (the "Treaty").

3.     The Treaty provides in Article VIII for the provisional arrest and detention of alleged

fugitives pending the submission of a formal request for extradition and supporting documents.

4.     In accordance with Article VIII of the Treaty, the Government of Australia has asked the

United States for the provisional arrest of Alex Dion a/k/a Ahmad Arnaout ("Dion") with a view

toward his extradition.

5.     According to the information the Government of Australia has provided, Dion was
charged with one count of murder, contrary to section 18(1)(a) of the Crimes Act 1900 (NSW).

6.         These offenses were committed within the jurisdiction of Australia. On July 16, 2018,

the Parramatta Local Court issued an arrest warrant for Dion's arrest on the basis of the

following facts:

                                     Wachira Phetmang's Murder

7.        Wachira Phetmang (Phetmang) was a 33-year old Thai national who resided in

Hurtsville, NSW, Australia with his partner K.M. Australian immigration records establish that

Phetrnang first came to Australia in 2000 and that he was a legal permanent resident of the

country at the time of his death. The NSW Police investigation found that Phetrnang owned two

mobile phones: (1) a Samsung Galaxy S8 with an IMEI number ending in -0040 and a phone

number ending in -9594; and (2) an Apple iPhone X with an IMEI number ending in -9143 and a

phone number ending in -9880.


8.        On Wednesday, June 6, 2018, 1 a truck driver discovered Phetrnang's body by the side of

Homebush Bay Drive, a freeway near Sydney's Olympic Park. Phetmang's body was wrapped

in black plastic "corflute sheeting" which was tied with a white rope.         Corflute sheeting is

commonly used by tilers and other tradespersons to protect floor tiles from damage. Phetrnang's

wrists and ankles were bound with strips of a tom t-shirt, and more of the same t-shirt material

was stuffed into his mouth. No mobile phones, wallet, or shoes were found on Phetmang's body,

however a single black size 12 men's Dewalt work boot was found under the corflute sheeting.

9.        An autopsy determined that Phetmang had suffered more than 20 wounds to his head and

multiple skull fractures.      In addition, his nose and one of his thumbs were fractured.     The

preliminary cause of death given by the examining pathologist was "head injuries." The forensic

1
    All dates and times in this affidavit are in the relevant local time.
pathologist also concluded that Phetmang's body may have been by the side of the road for a

number of days prior to its discovery on June 6.
                    Phetmang's Last Known Movements - May 25, 2018

10.    The NSW Police investigation determined that prior to his death, Phetmang frequently

purchased, used, and sold small quantities of methamphetamine. Phetmang left his Hurtsville,

New South Wales residence at approximately 12:30 pm on Friday May 25, 2018 after saying that

he was going to pick up a half of gram of methamphetamine that had been left out of a quantity

that he had sold to an associate - F.G. - the previous day near Mr. B's Hotel in Sydney.

Beginning at approximately 9:50 am on May 25, 2018, Phetmang was in mobile phone contact

with Dion and they met at approximately 7:00 pm that evening.
11.    At about 7:30 pm on May 25, 2018, Phetmang and Dion travelled in Dion's 2004

Hyundai Terracan to a 7-Eleven convenience store in South Hurtsville.           Security footage

obtained by the NSW Police Force shows Dion made three attempts to use the store's ATM. In

the footage, Dion is wearing a blue t-shirt with a distinctive white design on it. This t-shirt

matches the t-shirt that was used to bind the wrists of Phetmang's body.
12.    At approximately 7:38 pm, Phetmang and Dion left the 7-Eleven in Dion's Hyundai.

According to records received by NSW Police from Phetmang's Google account, at that time he

begin a 33-minute trip from the 7-Eleven to a location approximately 100 meters from Dion's

apartment at 15/473 Burwood Road, Belmore, NSW (hereinafter the "Belmore Unit").

13.    At approximately 11:02 pm on May 25, 2018, P.L, an associate of Phetmang's received a

call from Phetmang's phone, but P.L. could not hear anyone speaking. According to P.L.,

around the same time, he received a text from Phetmang's Samsung phone which read, "[C]an I

call you back later." When interviewed, P.L. noted that the use of English in this message -

rather than his and Phetmang's native Thai - was unusual. Cell phone tower records establish

that at the time this text was sent, Phetmang's phone was in the Kingsgrove area.
14.        At approximately 11:05 pm on May 25, 2018, Dion's roommate and employer A.E.

received a number of text messages from Phetmang's phone offering to sell A.E

methamphetamine and stating that Phetmang was in the Kingsgrove area. In an interview, A.E.

stated that he did not see these messages as he was asleep at the time they were received.

15.        Based on witness interviews conducted by NSW Police and phone records, all calls and

messages to Phetmang from family and associates after May 25, 2018 appear to have gone

unanswered.

                   Dion's Movements and Flight from Australia - May 27, 2018

16.        About 5:53am on Sunday, May 27, 2018, Dion's mobile telephone connected to a cell

tower at Sydney Olympic Park. At approximately 6:24 am on Sunday, May 27, 2018, Dion's
mobile telephone activated cell towers in the East Killara area of Sydney. Consistent with this, a

vehicle matching Dion's was seen on surveillance footage on Savoy Avenue, a street in East

Killara.

17.        According to information received as part of the NSW Police investigation, the following

day a construction worker located clothing and items in garbage bags inside a water retention
tank located below a garage at a property under construction on Redfield Road in the same East

Killara area. Dion and A.E. had previously worked at this property as tilers. NSW Police

obtained the property that was discovered in the water tank and elsewhere on the Redfield Road

property, which included:

                   a.    shoes, a cap, a jacket, and glasses that appear identical to those worn by

                         Phetmang in the May 25, 2018 7-Eleven surveillance footage;

                   b.    work trousers similar in appearance to those worn by Dion in the May 25,

                        2018 7-Eleven surveillance footage;

                   c.    black colored material similar to that located around Phetmang's ankles;

                   d.    two tire irons and a metal bar;
                e.    documents bearing the name of Dion's ex-wife.
18.    At approximately 12:28 pm on May 27, 2018, Dion dialed "000" - the Australian

equivalent of 911 - using his mobile telephone. Dion told the operator that he was a United

States citizen in Sydney visiting a friend. Dion identified himself by name and stated that his
friend was a drug user who he was attempting to get help, but that a "drug dealer" had found this

out and telephoned Dion to threaten him. The operator tried to convince Dion to meet police to

discuss the matter, but Dion hung up and could not be contacted again. Cell phone tower records

show that Dion's phone was in the East Killara area when he made this call.

19.    The investigation has established that after making this call, Dion left the East Killara

area and returned to the Belmore Unit where Dion used a high-pressure washer and cleaning

products from his apartment to wash the interior of his vehicle in a car wash bay housed in the
underground parking lot of the Belmore Unit. Consistent with this conclusion, A.E. reported that

the following day, Monday, May 28, 2018, he discovered that many of Dion's possessions were

missing from their apartment. A.E. also discovered Dion's vehicle in the parking garage.

According to A.E., the vehicle was not in its assigned parking space, had been left unlocked with

the windows down, and the interior saturated with water.

20.    At approximately 6:00 pm on May 27, 2018, Dion travelled from the Belmore Unit to
Sydney International Airport via Uber. At approximately 9:00 pm, Dion departed Sydney on a

Hawaiian Airlines flight 452 to Honolulu.

21.    On June 19, 2018, NSW Police executed a search warrant on the Belmore Unit. As part

of the execution of this warrant, they conducted a forensic examination of the apartment, the car

wash bay in the apartment complex' s garage, and both Dion and A.E. 's vehicles.

       In the course of the search, NSW Police seized, amongst other items:
              a.      A black Dewalt work boot matching the boot that was found under

                      Phetmang's body. According to A.E., these boots belonged to Dion, who

                      had stolen them some weeks prior;
             b.       sheets of black corflute plastic identical to those that were wrapped around

                      Phetmang's body. These sheets were located both in the car wash bay and

                      inside Dion's vehicle; and

             c.       cigarette butts, gloves, medications bearing Dion's name, and other items

                      that A.E. stated belonged to Dion;

22.    DNA testing conducted by NSW Police found DNA traces, amongst other items,

belonging to an unknown individual on:

             a.       On the material gag located in Phetmang's mouth one of the rope bindings
                      tied around the black Corflute plastic surrounding Phetmang' s body;

             b.       the knotted blue and white T-shirt that was tied around Phetmang's wrists;

                      and

             c.       the wall of the car wash area in the underground garage of the Belmore

                      Unit.
23.    The DNA pulled from these items matches the DNA located on the cigarette butts, which

A.E. said belonged to Dion. The analysis also specifically excluded A.E. and F.G/ as being the

source of this DNA. Based on these facts, the NSW Police believe that the DNA belongs to

Dion, whose DNA profile is not recorded in Australian databases.

                     Dion's Possession and Use of Phetmang's Property

24.    NSW Police believe, based on their investigation, that at the time he departed Sydney on

May 27, 2018, Dion had in his possession Phetmang's mobile telephone as well as at least three

of Phetmang's credit cards. At approximately 8:20 pm on May 27, 2018, A.E. received text
messages from Phetmang's mobile phone that purported to offer methamphetamine for sale in

the Hurtsville area. Based on those text messages, A.E. went to Hurtsville to meet Phetmang,

but Phetmang did not arrive, and his phone was shut off when A.E. attempted to reach him. Cell

tower records show that the at the time these messages were sent, Phetmang's phones were in the

area of the Sydney airport and that after they were sent Phetmang's mobile phones left Australia

at approximately the same time that Dion did and subsequently connected to cell phone towers in

the United States.

25.    Bank records reviewed by the NSW Police show that multiple unsuccessful attempts

were made to use one of Phetmang's credit cards in the United States and Tijuana between June

11, 2018 and June 19, 2018 .A second card, one issued by St. George Bank ending in -7398, was

successfully used on several occasions in California and Tijuana between June 10 and June 20,

2018. Later that same day, at approximately 8:19 pm, Phetmang's card was used for an AUD

$19.92 purchase at North Park Produce in Poway, California. Surveillance video obtained by the

San Diego County Sherriff s office shows that Dion made this purchase.

                 Dion's Calls to NSW Police Regarding Phetmang's Murder

26.    On June 20, 2018, NSW Police issued a press release requesting information relating to

Phetmang's movements and any sightings of Dion's vehicle around the time of the murder. On

the same day, Dion called the NSW Police from the United States and made a number of

statements, including inconsistent statements, regarding the events discussed above. Dion has

also exchanged emails and had multiple telephone conversations with NSW Police and has told

them that he was in possession of some of Phetmang's property, including a mobile phone and

bank cards.
                                              Conclusion

27.    The offense with which Dion is charged is provided for in Article II of the Treaty.

28.    Dion may be found within the jurisdiction of this Court and resides at 12345 Old

Pomerado Road #20, Poway, California, but is currently incarcerated with pending charges being

prosecuted by the San Diego City Attorney.

29.    The Government of Australia has represented that it will submit a formal request for

extradition supported by the documents the Treaty specifies, within the time the Treaty requires.

30.    Dion would be likely to flee ifhe learned of the existence of a warrant for his arrest.

       WHEREFORE, the undersigned requests that a warrant for the arrest of the aforenamed

person be issued in accordance with 18 U.S.C. § 3184 and the Treaty, and that this complaint and

the warrant be placed under the seal of the Court, except as disclosure is needed for its execution,

until such time as the warrant is executed.



                                                             Assistant United States Attorney




                                                             United States Magistrate Judge
